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DECLARATION OF CYNTHIA CABRERA

L My name is Cynthia Cabrera, and I am over the ape of twenty-one, of sound
mind, and competent to execute this declaration.

2 I submit this declaration on behalf of Sky Marketing Corporation d/b/a
Hometown Hero ("Sky Marketing”), in support of plaintiffs’ motion for preliminary
injunction.

3. T have personal knowledge of the facts set forth in this Declaration, or know
them in my capacity ag chief strategy officer of Sky Marketing, based on records that Sky
Marketing keeps in the regular course of its basiness, and could and would competently
testify to them under oath if called as a witness.

4, Sky Marketing is a Texas corporation with its principal place of business
located im Austin, Texas.

5. Sky Marketing is a distributor of, among other things, low THC bemp
products, wholesaling to Arkansas businesses in addition to retailing directly to Arkansas
consumers.

6. Sky Marketing orders, transports, and ships hemp-derived cannabinoid
products like Delta-8 THC into and through Arkansas, either directly or through third-
party distributors.

7 As a rezult of Act 629, Sky Marketing and its employees are in jeopardy of
coiminal prosecution for possessing, shipping, transporting, packaging, processing, and
retailing low THC hemp extract products in Arkansas.

8. Specifically, under Act 629, Sky Marketing’s employees face criminal
liability for transporting and shipping bemp products if they fail to demonstrate the

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EXHIBIT

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products were “in continuous transportation” and “produced in accordance with 7 U.S.C.
§ 2016390 et seq.”

9. Sky Marketing’s investment is exposed and threatened as Act 629 would
render its inventory of hemp-derived products utterly worthless in Arkansas.

10. Sky Marketing would be irreparably barmed unless Act 629 is enjoined.

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing
is true and accurate.

Executed on this 31° day of July, 2023.
“
i

a,

jf Cabrera
Chi Strategy Oifficer
Slot Marketing Corporation d/b/a Hometown Hero

